       Case 4:20-cv-00483-MW-MAF Document 5 Filed 11/06/20 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

ERNEST R. GIBSON, JR.,
# 281824,

             Plaintiff,
v.                                           CASE NO.: 4:20cv483 -MW/MAF

JOHN LEE,

             Defendant.

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        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 4. Upon consideration, no objections having been

filed by the parties,

      IT IS ORDERED:

      The report and recommendation is accepted and adopted, as this Court’s

opinion. Plaintiff’s in forma pauperis motion, ECF No. 2, is DENIED. The Clerk

shall enter judgment stating, “This action is DISMISSED without prejudice

because Plaintiff has not demonstrated that he meets the imminent danger exception

of 28 U.S.C. § 1915(g).” The Clerk is directed to enter on the docket that this case
      Case 4:20-cv-00483-MW-MAF Document 5 Filed 11/06/20 Page 2 of 2




was dismissed pursuant to § 1915(g). The Clerk shall close the file.

      SO ORDERED on November 6, 2020.
                                      s/Mark E. Walker
                                      Chief United States District Judge




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